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                                                                                               FILED
                                                                                             U.S. DISTRICT COURT
                                                                                         EASTERN DISTRICT ARKANSAS


                                                                                             APR 07 2014
                                                                 JA~ES W. Mc~ACK, CLERK
                                                                ,By.            DEP CLERK
                              IN THE UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF ARKANSAS
                                 WESTERN (LITTLE ROCK) DIVISION



     MARK MOORE, MICHAEL HARROD,                                                       PLAINITFFS
     and WILLIAM CHRIS JOHNSON



     VS.                                     Case NO. 4:14-CV-65-JMM



     HONORABLE MARK MARTIN,
     in his official capacity as
     Arkansas Secretary of State                                                       DEFENDANT


              DEFENDANT ARKANSAS SECRETARY OF STATE MARK MARTIN'S
                             MOTION TO DISMISS AND
                ALTERNATIVE MOTION FOR MORE DEFINITE STATEMENT

             Comes now Defendant, Arkansas Secretary of State Mark Martin, for his Motion to

     Dismiss and Alternative Motion for More Definite Statement, by and through his attorney, and

     states that:


             1.       Plaintiffs filed this Complaint on February 6, 2014, asserting claims under 42

                      U.S.C. §1983, alleging violations of the First and Fourteenth Amendments of the

                      U.S. Constitution, and specifically requesting a declaration of the

                      unconstitutionality of the State of Arkansas' statutory scheme for allowing access




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       to the general election ballot for independent candidates for various elected

       offices in the State of Arkansas.

2.     This Court lacks jurisdiction over the subject matter of the Complaint where

       Plaintiffs lack standing because they have not properly alleged an actual injury in

       fact to each of them, in their individual capacities. Fed. R. Civ. P. 12(b)(l).

3.     The legal theories advanced by Plaintiffs are inadequately developed factually in

       the Complaint, and do not meet the standards of pleading facts sufficient to show

       that each of the Plaintiffs is plausibly entitled to the relief he seeks. Fed. R. Civ.

       P. 8(a); Fed. R. Civ. P. 12(b)(6).

4.     Plaintiff William Chris Johnson has failed to join necessary parties to this action,

       and cannot obtain the relief he seeks from Defendant Secretary of State. Fed. R.

       Civ. P. 12(b)(7); Fed. R. Civ. P. 19.

5.     Plaintiffs' Complaint fails to plead specific intentional acts performed by

       Defendant Secretary of State which would form the basis for a cause of action

       under 42 U.S.C. §1983.

6.     The Complaint as filed on February 6 is too vague and ambiguous for Defendant

       to prepare a reasonably responsive pleading. Fed. R. Civ. P. 12(e). In particular,

       because the Complaint was filed with this Court before the "filing period" for

       public office (February 24 to March 3, 2014), Plaintiffs have not alleged that each

       of them actually filed or attempted to file for the office sought, nor that each

       Plaintiff tendered all of the required materials for filing, nor that each Plaintiff

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               meets all legal requirements to hold the office that he seeks, nor that Defendant or

               some other state official failed to accept properly tendered materials rendering

               each of the Plaintiffs eligible to have their names placed on the ballot. Further,

               Plaintiffs have failed to articulate a factual basis for their purported injury as

               "voters" resulting from - or that would result from - any act of Defendant.

       7.      Defendant herewith submits a Brief in support of his Motion to Dismiss and

               Alternative Motion for More Definite Statement.

       8.      Defendant asks the Court to dismiss the Complaint, or alternatively to grant

               Defendant's Motion for More Definite Statement, and enter an appropriate Order

               requiring Plaintiffs to file an Amended Complaint showing that each Plaintiff has

               a particularized injury in fact, with supporting factual detail, and appropriate legal

               theories entitling each Plaintiff to the relief that each Plaintiff seeks herein.


       WHEREFORE, Defendant Secretary of State Mark Martin prays that this Court grant

Defendant the relief he seeks herein; that the Court deny Plaintiffs any of the relief they seek;

that the Court dismiss Plaintiffs' Complaint; alternatively that the Court grant Defendant's

Motion for More Definite Statement and enter an appropriate Order to Plaintiffs requiring them

to provide a more definite statement of all of their claims and contentions; and that the Court

grant Defendant such additional relief to which he may be entitled under the circumstances.

       Dated this 7th day of April, 2014.




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                                                           Respectfully submitted,

                                                           HONORABLE MARK MARTIN
                                                           SECRETARY OF STATE


                                                           By: _ _ _____.E::....,j~F-J~I<..-: ==--,,__
                                                           A.J. Kelly
                                                           Deputy . . . Pr•rPt<>r,.,.
                                                           PO Box 251570
                                                           Little Rock AR 72225-1570
                                                           Phone: (501) 682-3401
                                                           Fax: (501) 682-1213
                                                           Email: kellylawfedecf@ aol.com

                                                           Attorney for Defendant
                                                           Secretary of State


                                     CERTIFICATE OF SERVICE

    I do hereby certify that on the date set forth above, I have served the foregoing via the electronic
    filing system in the Federal District Court Clerk's Office (CMIECF), and by mail and by fax to
    the following:


    James C. Linger
    1710 South Boston Avenue
    Tulsa OK 74119-4810
    Fax: 918-583-8283

    Jeff Rosenzweig
    300 Spring St, Suite 310
    Little Rock AR 72201
    Fax: 501-376-0770

                                                           A.J. Kelly




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